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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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 9     RICHARD CEDENO DONASTORG,          Case No. EDCV 12-1654-AG (JPR)
10                         Plaintiff,
                                                    JUDGMENT
11                   VS.

12     RIVERSIDE COUNTY SHERIFF’S
13     DEPARTMENT et al.,

14                         Defendants.

15
16          In line with the Order Accepting Findings and
17    Recommendations of U.S. Magistrate Judge,
18          IT IS HEREBY ADJUDGED that this action is dismissed with
19    prejudice.
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21    DATED:         a
                                            REW J.   tLF’RD
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                                         U.S. DISTR/ICVUDGE
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